     Case: 1:20-cv-04806 Document #: 576 Filed: 07/14/22 Page 1 of 6 PageID #:14061




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ABC Corporation I et al,
                                                      CASE NO. 1:20-cv-04806
                       Plaintiffs,
v.                                                    Judge: Honorable Thomas M. Durkin

THE PARTNERSHIPS and                                  Magistrate Judge: Jeffrey Cole
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

                       Defendants.

               DEFENDANT GYROOR-US’ MOTION TO INCREASE BOND

         Defendant Dongguan Saibotant Energy Tech Co., Ltd. (d.b.a.“Gyroor-US”), by and

through counsel, respectfully submits this Motion to Increase Bond.

                                          Introduction

         Gyroor-US’ account and assets have been restrained for over 18 months since the

preliminary injunction order was entered. [Dkt. 113]. Gyroor-US is entitled to a bond sufficient to

compensation for harm caused by the injunction and to make it whole if it prevails on the merit.

         The current bond in the amount of $250,000 is insufficient to cover the cost and damage

that Gyroor-US has sustained due to the preliminary injunction. In the last 18 months, Gyroor-US

has a lost net profit in the amount of $628,295.60. Furthermore, prejudgment interest based on the

restrained assert is approximately $38,171.50. Therefore, less the current bond deposited by

Plaintiffs in the amount of $250,000, Gyroor-US respectfully requests that this Court increase bond

by $416,467.10.

                                       Procedural History

         On November 17, 2020, Plaintiffs Hangzhou Chic Intelligent Technology Co., Ltd. (“Chic”)

and Unicorn Global, Inc., (“Unicorn”) (collectively, “Plaintiffs”) filed their Third Amended

                                                1
  Case: 1:20-cv-04806 Document #: 576 Filed: 07/14/22 Page 2 of 6 PageID #:14062




Complaint against the numerous Defendants, including Gyroor-US. [Dkt. 101-14]. Plaintiffs

alleged that Defendants infringed Plaintiffs’ design patents.

       On November 20, 2020, Plaintiffs applied for a preliminary injunction, which was granted

and entered on November 24, 2020. [Dkt. 113]. Since the preliminary injunction order was entered,

Gyroor-US’ assets at Amazon.com have been restrained.

       To date, Plaintiffs has deposited bond in the amount of $250,000.00.

                                         Legal Standard

       Under Federal Rule of Civil Procedure 65(c), a court may issue a preliminary injunction

“only if the movant gives security in an amount that the court considers proper to pay the costs

and damages sustained by any party found to have been wrongfully enjoined or restrained.” Fed.

R. Civ. P. 65(c). “The purpose of requiring security prior to issuance of an injunction or a

temporary restraining order is to guarantee payment of costs and damages incurred by a party who

is wrongfully enjoined or restrained.” Monster Energy Co. v. Wensheng, 136 F. Supp. 3d 897, 911

(N.D. Ill. 2015).

       “A bond is a condition to preliminary injunctive relief… if the injunction is reversed,

compensation for harm caused by the injunction cannot exceed the amount of the bond.” Mead

Johnson & Co. v. Abbott Labs., 209 F.3d 1032, 1033 (7th Cir. 2000) (citing Coyne-Delany Co. v.

Cap. Dev. Bd. of State of Ill., 717 F.2d 385, 393-94 (7th Cir. 1983)); see also qad. inc. v. ALN

Assocs., Inc., 781 F. Supp. 561, 562 (N.D. Ill. 1992) (“It is black letter law that the amount of a

preliminary injunction bond normally sets the ceiling for damages obtainable by a party that is

later found to have been wrongfully enjoined.”).

       “A party may move the court to increase the amount of security so long as the restraint or

injunction is in effect.” Monster Energy Co.,136 F. Supp. 3d at 911. (citing 13 Moore's Federal



                                                 2
  Case: 1:20-cv-04806 Document #: 576 Filed: 07/14/22 Page 3 of 6 PageID #:14063




Practice—Civil § 65.50; Gateway E. Ry. Co. v. Terminal R.R. Ass'n of St. Louis, 35 F.3d 1134,

1141 (7th Cir.1994); Laboratory Corp. of America Holdings v. Kearns, 84 F. Supp. 3d 447, 2015

WL 413788, at *16 (M.D.N.C. 2015)). Even where an appropriate figure is unclear, “district courts

should err on the high side.” Mead Johnson & Co. v. Abbot Labs., 201 F.3d 883, 888 (7th Cir. 2000).

“[A]n error in the other direction produces irreparable injury, because the damages for an erroneous

preliminary injunction cannot exceed the amount of the bond” Id. (citing W.R. Grace & Co. v.

Rubber Workers, 461 U.S. 757, 770 n.14 (1983)).

                                            Arguments

       A.     Gyroor-US’ lost profit in the last 18 months has exceeded $628,295.60

       “As a general principle, when seeking the recovery of lost profits, a claimant must establish

these lost profits with ‘reasonable certainty.’” TAS Distrib. Co., Inc. v. Cummins Engine Co., Inc.,

491 F.3d 625, 632 (7th Cir.2007) (citation omitted).

       Since November 2020, Gyroor-US’ account has been restrained for more than 18 months.

Gyroor-US’s loss in the last 18 months could be calculated based on its prior business record.

Gryoor-US’ revenue in the four months before its account being restrained is provided in Table 1.

                       Table 1. Gyroor-US’s Lost Net Profit in 18 months
                        Before the Preliminary Injunction Was Entered
                             Month                                           Revenue
                            Jul 2020                                        $313,186.87
                            Aug 2020                                        $489,868.89
                            Sep 2020                                        $498,378.99
                            Oct 2020                                       $1,025,573.97
         Average monthly revenue before injunction                         $581,752.18
            Calculated Total Lost Revenue in 18 months                    $10,471,539.24
            Calculated Lost Net Profit in 18 months                        $628,295.60



                                                 3
  Case: 1:20-cv-04806 Document #: 576 Filed: 07/14/22 Page 4 of 6 PageID #:14064




       Gyroor-US’s average monthly revenue prior to the injunction is $581,752.18. See Decl. of

Xie, ¶8, attached as Exhibit 1. Shown in Table 1, based on Gyroor-US’ average monthly revenue

prior to the injunction, its total lost sales revenue in the 18 months amounts to $10,471,539.24.

With a net profit margin of between 6% to 8% [Exhibit 1, ¶ 10], it is reasonably to conclude that

if Gyroor-US had been conducting its normal course of business in the last 18 months, Gyroor-US

could have gained a new profit in the amount of $628,295.60.

       B.    Prejudgment interest based on the restrained assert has exceeded $38,171.50

       “The basic purpose of prejudgment interest is to put a party in the position it would have

been in had it been paid immediately.” American Nat'l Fire Ins. Co. ex rel. Tabacalera Contreras

Cigar Co. v. Yellow Freight Sys., Inc., 325 F.3d 924, 935 (7th Cir. 2003). Prejudgment interest is

designed to “ensure that an injured party is fully compensated for its loss,” City of Milwaukee v.

Cement Div., Nat'l Gypsum Co., 515 U.S. 189, 195 (1995).

       Prejudgment interest is measured from “the time the claim accrues until judgment is entered.”

West Virginia v. United States, 479 U.S. 305, 310 n.2 (1987). In calculating prejudgment interest,

courts “should use the ‘prime rate’—that is the rate that banks charge for short-term unsecured

loans to creditworthy customers.” Matter of Oil Spill by Amoco Cadiz, 954 F.2d 1279, 1331 (7th

Cir. 1992). In addition, “compound prejudgment interest is the norm in federal litigation.” Id.

       Gyroos-US’ restrained asset is more than $1,000,000.00. Ex. 1, ¶3. The current prime rate

of this motion is filed is 4.75%. See Prime Rate - Federal Funds Rates, attached as Exhibit 2.

       While the prime rate and the exact restrained amount varies from months to month, at a

conservative estimate, the prejudgment interest based on $1,000,000.00 incurred in the last 18

months at an interest rate of 2.5% per year compounded monthly is approximately $38,171.50. See

Table 2, Calculation of the Request Increased Bond Amount.



                                                4
  Case: 1:20-cv-04806 Document #: 576 Filed: 07/14/22 Page 5 of 6 PageID #:14065




                Table 2. Calculation of the Request Increased Bond Amount
                        Lost Net Profit                                   $628,295.60
               Prejudgment Interest (Approx.)                             $38,171.50
                        Current Bond                                      $250,000.00
             Request Increased Bond Amount                                $416,467.10
  (= Lost Net Profit + Prejudgment Interest - Current Bond)

       Therefore, should Plaintiffs elect to maintain any aspect of the preliminary injunction

against Gyroor-US, Plaintiff should post additional bond in the amount of $416,467.10 to provide

Gyroor-US a fair opportunity to recoup the damage inflicted by Plaintiffs’ injunction.

                                           Conclusion

       For the foregoing reasons, Gyroor-US respectfully requests this Court order Plaintiffs to

post additional bonds in the amount of $416,467.10.




                                                      Respectfully Submitted:


 Date: 07/14/2022                                     /s/ Tianyu Ju
                                                      Tianyu Ju, Esq.
                                                      GLACIER LAW PLLC
                                                      200 E. Randolph Dr., Ste. 5100
                                                      Chicago, IL 60601
                                                      Attorney for Defendants




                                                5
  Case: 1:20-cv-04806 Document #: 576 Filed: 07/14/22 Page 6 of 6 PageID #:14066




                              CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this July 14, 2022, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system, and service was perfected on all counsel of record

and interested parties through this system, which will deliver a true and correct copy of the

foregoing documents via CM/ECF.




 Date: July 14, 2022                           /s/ Tianyu Ju
                                               Tianyu Ju, Esq.
                                               GLACIER LAW PLLC
                                               200 E. Randolph Dr., Ste. 5100
                                               Chicago, IL 60601
                                               Attorney for Defendants




                                              6
